Case 0:20-cv-60885-PMH Document 78 Entered on FLSD Docket 08/17/2023 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION

                                   CASE NO.: 0:20-cv-60885-PMH

  BRANDON THOMPSON,

                 Plaintiff,

  v.

  FORT LAUDERDALE LAW GROUP
  SOUTH, PLLC,

              Defendants.
  _________________________________/


   PLAINTIFF’S MOTION TO RESCHEDULE SHOW CAUSE HEARING SCHEDULED
                           FOR AUGUST 21, 2023

         Plaintiff, BRANDON THOMPSON (“Plaintiff”), by and through his undersigned counsel,

  hereby files his Motion to Reschedule Show Cause Hearing Scheduled for August 21, 2023, and,

  in support thereof, states as follows:

                                  BACKGROUND INFORMATION

         On July 26, 2023, this Court granted Plaintiff’s Second Motion to Enforce Settlement, For

  Sanctions and Attorneys’ Fees and Costs Against Defendant, FORT LAUDERDALE LAW

  GROUP SOUTH, PLLC (“Defendant”). See ECF No. 77.

         In the Court’s Order, Defendant was required to pay all outstanding payments, including

  the previously ordered attorneys’ fees and costs, no later than August 14, 2023. Id. Defendant has

  failed to pay the foregoing.

         The Court, amongst other requirements, set an in-person show cause hearing for August

  21, 2023, at 10:00 AM. Id.
Case 0:20-cv-60885-PMH Document 78 Entered on FLSD Docket 08/17/2023 Page 2 of 3




            Plaintiff requests that the Court reschedule same as undersigned counsel, Noah E. Storch,

  Esq., is out of the jurisdiction on a preplanned vacation with his family. Additionally, undersigned

  counsel was out of the country on his ten (10) year anniversary with his wife when the Court’s

  Order was docketed.

            Plaintiff respectfully requests that the Court reschedule the August 21, 2023, show cause

  hearing, and that same be scheduled any time from September 5, 2023, through September 9, 2023.

            Plaintiff’s Counsel apologizes for this request, and states that same is not, at all, for

  purposes of delay.

            WHEREFORE, for the foregoing reasons, Plaintiff respectfully request that the Court grant

  the instant Motion rescheduling the August 21, 2023, show cause hearing for any time between

  September 5, 2023, and September 9, 2023, and grant such other and further relief as is just and

  proper.

            DATED this 17th day of August, 2023.

                                                 Respectfully submitted,
                                                 /s/ Noah E. Storch___
                                                 Noah E. Storch, Esq.
                                                 Florida Bar No.: 0085476
                                                 RICHARD CELLER LEGAL, P.A.
                                                 10368 W. SR. 84, Suite 103
                                                 Davie, Florida 33314
                                                 Tel: (866) 344-9243
                                                 Fax: 954-337-2771
                                                 E-mail: noah@floridaovertimelawyer.com

                                                 Attorneys for Plaintiff
Case 0:20-cv-60885-PMH Document 78 Entered on FLSD Docket 08/17/2023 Page 3 of 3




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 17th day of August, 2023, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

  electronic filing to all Counsel of Record.

                                                /s/ Noah E. Storch___
                                                Noah E. Storch, Esq.
